     Case 5:19-cv-02191-VEB Document 23 Filed 01/12/21 Page 1 of 1 Page ID #:1504



 1

 2

 3

 4
                           UNITED STATES DISTRICT COURT
 5

 6                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 7
                                   EASTERN DIVISION
 8
     MATRIKA MISSOURI MORGAN, )                    CASE NO: EDCV19-02191-VEB
 9
                                        )
10                      Plaintiff,      )          ORDER AWARDING
11                                      )          EAJA FEES
                  v.                    )
12                                      )
13   ANDREW SAUL, Commissioner          )
     of Social Security Administration, )
14
                                        )
15                      Defendant.      )
     ______________________________ )
16

17         Based upon the parties’ Stipulation for Award and Payment of Equal Access
18   to Justice Act (EAJA) Fees (“Stipulation”),
19         IT IS ORDERED that Plaintiff shall be awarded attorneys’ fees under the
20
     Equal Access to Justice Act, ("EAJA”) in the amount of THREE THOUSAND FIVE
21
     HUNDRED THIRTY DOLLARS and 55/cents ($3,530.55), as authorized by 28
22
     U.S.C. § 2412 (d), and subject to the terms and conditions of the Stipulation.
23

24   Dated this 12th day of January, 2021,
25
                                             /s/Victor E. Bianchini
26                                           VICTOR E. BIANCHINI
27                                           UNITED STATES MAGISTRATE JUDGE
28
